          Case 2:14-cr-00021-RMP                            ECF No. 2065      filed 12/16/16     PageID.11195 Page 1 of 2
O PS 8                                                                                                                    FILED IN THE
(3/15)                                                                                                                U.S. DISTRICT COURT
                                                                                                                EASTERN DISTRICT OF WASHINGTON


                                            UNITED STATES DISTRICT COURT                                         Dec 16, 2016
                                                                                                                     SEAN F. MCAVOY, CLERK
                                                                             for
                                                               Eastern District of Washington


 U.S.A. vs.                                Crawley, Gilbert A.                          Docket No.           2:14CR00021-RMP-22


                                               Petition for Action on Conditions of Pretrial Release

COMES NOW Erik B. Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of
defendant Gilbert A. Crawley, who was placed under pretrial release supervision by the Honorable U. S. District Judge
Rosanna Malouf Peterson, sitting in the Court at Spokane, Washington, on the 4th day of November 2014 under the following
conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C.                     802, unless prescribed by a licensed practitioner.

Violation #4: The defendant failed to report for random drug testing on December 12, 2016.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(If short insert here; if lengthy write on separate sheet and attach.)


Violation #3: The defendant admitted to smoking marijuana on November 27 and 28, 2016.

Violation #4: The defendant failed to report for random drug testing on December 12, 2016.

       PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATION(S)
                            PREVIOUSLY REPORTED TO THE COURT

                                                                                         I declare under the penalty of perjury
                                                                                         that the foregoing is true and correct.
                                                                                         Executed on:       December 16, 2016
                                                                                   by    s/Erik Carlson
                                                                                         Erik Carlson
                                                                                         U.S. Pretrial Services Officer
       Case 2:14-cr-00021-RMP         ECF No. 2065      filed 12/16/16       PageID.11196 Page 2 of 2
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  Re: Crawley, Gilbert A.
  December 16, 2016
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THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ X]     The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the case.
[X ]     Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                      Signature of Judicial Officer
                                                                              12/16/2016
                                                                      Date
